                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

ADRIAN PATTERSON                            )
                                            )
vs.                                         )       Case No.      3:16-cv-02623
                                            )                     Chief Judge Crenshaw
UNITED STATES OF AMERICA                    )

              MOTION FOR LEAVE TO FILE DOCUMENT UNDER SEAL

        Comes now the plaintiff, Adrian Patterson, by and through counsel of record, G. Kerry

Haymaker, hereby moves this Honorable Court for leave to file the associated Document under

seal.



                                                    Respectfully submitted,

                                                    HAYMAKER & HEROUX, P.C.


                                                       /s G. Kerry Haymaker
                                                    G. Kerry Haymaker, BPR 18695
                                                    Attorney for the Plaintiff
                                                    The Court Square Building
                                                    300 James Robertson Pkwy Suite 306
                                                    Nashville, Tennessee 37201
                                                    (615)250-0050


                                CERTIFICATE OF SERVICE

       I hereby certify that a true and exact copy of the foregoing Motion for Leave to File
Under Seal has been delivered by US Mail to Sunny Koshy, Assistant United States Attorney,
110 Ninth Avenue, South, Suite A961, Nashville, TN 37203-3870 on this the 15th day of
February, 2019.

                                                         /s G. Kerry Haymaker
                                                    G. Kerry Haymaker




      Case 3:16-cv-02623 Document 46 Filed 02/15/19 Page 1 of 1 PageID #: 146
